Case 1:21-cv-21079-BB Document 313 Entered on FLSD Docket 07/02/2024 Page 1of3

+

Case No. 21-cv-21079-BLOOM/Torres

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 1:21-CV-21079-BLOOM/Torres

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,
V.

MINTBROKER INTERNATIONAL, LTD.,
f/k/a SWISS AMERICA SECURITIES LTD.
and d/b/a SURETRADER, and

GUY GENTILE, a/k/a GUY GENTILE NIGRO,

Defendants.
/ :

VERDICT FORM

We the jury unanimously respond to the following questions as follows:

Count I:

1(a). Did the SEC prove by a preponderance of the evidence that SureTrader was
required to register under Section 15(a)(1) of the Exchange Act?

YES LS NO

If you answered YES to (1)(a), please go to Question (1)(b). If your answer is NO, do not
complete the rest of this Verdict Form, and please have the foreperson sign and date the verdict
form.

1(b). Did Mr. Gentile prove by a preponderance of the evidence that SureTrader
qualified for the Rule 15a-6(a)(1) exemption to Section 15(a)(1) of the Exchange Act’s

requirement to register
YES NO

13

Case 1:21-cv-21079-BB Document 313 Entered on FLSD Docket 07/02/2024 Page 2 of 3

“&

Case No. 21-cv-21079-BLOOM/Torres

If you answered YES to 1(b), do not complete the rest of this Verdict Form, and please have the
foreperson sign and date the verdict form.

If you answered NO to 1(b), please go to Question 2(a).

Count II:
2(a). Did the SEC prove by a preponderance of the evidence that Mr. Gentile is liable
as a control person under Section 20(a) for SureTrader’s failure to register under Section

15(a)(1) of the Exchange Act ?

YES NO

If you answered YES to (2)(a), please go to Question (2)(b). If your answer is NO, do not answer
2(b) and proceed to Question 3(a).

2(b). Did Mr. Gentile prove by a preponderance of the evidence that he acted in good-
faith and did not induce / to fail to register with the SEC??

YES NO

If you answered YES to Question 2(b), Please skip 2(c) and go to Question 3(a). If you answered
NO, please answer Question 2(c).

2(c). Did Mr. Gentile prove by a preponderance of the evidence that SureTrader
qualified for the Rule 15a-6(a)(1) exemption to Section 15(a)(1) of the Exchange Act’s
requirement to register with the SEC?

YES NO

If you answered YES to 2(c), do not complete the rest of this Verdict Form, and please have the
foreperson sign and date the verdict form. If you answered NO, proceed to Question 3(a).

14
Case 1:21-cv-21079-BB Document 313 Entered on FLSD Docket 07/02/2024 Page 3 of 3

Case No. 21-cv-21079-BLOOM/Torres

Count III:

3(a). | Did the SEC prove by a preponderance of the evidence that Mr. Gentile directly
or indirectly induced SureTrader to engage in unregistered broker activity in violation of Section

15(a)(1)? S
YES? NO

If you answered NO to 3(a), do not complete the rest of this Verdict Form, and please have the
foreperson sign and date the verdict form. If you answered YES, proceed to Question 3(b).

3(b) Did Mr. Gentile prove by a preponderance of the evidence that SureTrader
qualified for the Rule 15a-6(a)(1) exemption to Section 15(a)(1) of the Exchange Act’s
requirement to register with the SEC?

YES NO So

Please have the foreperson sign and date the verdict form.

SO SAY WE ALL

Foreperson’s Signature

Date q/2 [zo2y

15
